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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 THOMAS P. FITZGERALD,

        Plaintiff,
                                                                    Civil No. 08-10784
 v.                                                                 Hon. Gerald E. Rosen

 H&R BLOCK FINANCIAL ADVISORS, INC.
 And H&R BLOCK, INC.,

        Defendants.

 _____________________________/

                       OPINION AND ORDER GRANTING
            PLAINTIFF’S MOTION TO CONFIRM ARBITRATION AWARD
      AND DENYING DEFENDANTS’ MOTION TO VACATE ARBITRATION AWARD


                                  At session of said Court, held in
                              the U.S. Courthouse, Detroit, Michigan
                              on      June 11, 2008

                               PRESENT:       Honorable Gerald E. Rosen
                                              United States District Judge

                                      I. INTRODUCTION

        Plaintiff Thomas P. Fitzgerald commenced this action pursuant to the Federal Arbitration

 Act, 9 U.S.C. § 1, et seq., on February 25, 2008 seeking to confirm an arbitration award (the

 “Award”) entered against Defendant H&R Block Financial Advisors, Inc. (“HRBFA”) and H&R

 Block, Inc. in the amount of $3,962,846.91. This Award was rendered by a Dispute Resolution

 Panel (the “Panel”) of the Financial Services Regulatory Authority, Inc. (“FINRA,” formerly the

 National Association of Securities Dealers, “NASD”) on February 20, 2008. The Award

 included compensatory damages, interest, and attorney fees. However, as permitted under the

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 NASD Code of Arbitration, which is applicable in FINRA cases filed prior to April 16, 2007, the

 Panel provided no reasoned opinion for its decision. See NASD Code of Arbitration § 10330,

 http://www.finra.org/web/groups/med_arb/documents/mediation_arbitration/p018653.pdf.

        This matter is now before the Court on Plaintiff’s motion to confirm the award and

 Defendants’ cross-motion to vacate the award. Having reviewed and considered the parties’

 respective motions and briefs, the Court has determined that oral argument is not necessary.

 Therefore, pursuant to Eastern District of Michigan Local Rule 7.1(e)(2), this matter will be

 decided on the briefs. This Opinion and Order sets forth the Court’s ruling.

                                     II. PERTINENT FACTS

        Plaintiff Thomas Fitzgerald, a licensed and practicing attorney, was hired as “General

 Counsel” by OLDE Discount Corporation (“OLDE”), the predecessor-in-interest of Defendant

 HRBFA,1 on March 6, 1995. His employment was terminated on April 26, 2004. At the time of

 his termination, Plaintiff held the position of Executive Vice President and Chief Operating

 Officer of HRBFA.

        During the course of his employment, a dispute arose concerning Plaintiff’s refusal to

 execute an employment agreement that was being required for each senior executive employee in

 2003. Plaintiff’s refusal was based in part on a more restrictive than usual non-compete

 provision in the agreement and his demand for special treatment regarding accelerated vesting of

 stock options. Due to these issues and H&R Block’s desire to restructure HRBFA’s



        1
           OLDE became HRBFA following the acquisition of OLDE’s parent corporation by
 Defendant H&R Block, Inc. H&R Block, Inc. is a holding company with a number of
 subsidiaries that provide a wide range of financial services including services related to
 securities, mortgages, accounting, and tax preparation.

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 organizational scheme, discussions with Plaintiff over an orderly termination of his employment

 began in August 2003.

        According to Plaintiff, the proposed agreement that he refused to sign was sent to him

 under cover of a memorandum printed on H&R Block, Inc. letterhead ostensibly from the Senior

 Vice President for Human Resources of H&R Block which was signed by Stephanie Otto. Otto,

 however, was at the time employed exclusively by HRB Management. Plaintiff tried to

 negotiate the terms of the proposed agreement directly with Mark Ernst, the President, CEO and

 Chairman of parent company H&R Block. Ernst is also the President of HRB Management, the

 administrator of the H&R Block Severance Plan (the “Plan”).

        When by February 2004 a resolution was still not reached between Plaintiff and his

 employer concerning the proposed employment agreement, Plaintiff was informed that it was

 time to bring an end to the relationship, and on April 26, 2004, Plaintiff’s employment with

 HRBFA was terminated.

        During the course of his employment with HRBFA, Plaintiff signed a Form U-4 titled

 “Uniform Application for Securities Industry Registration” to become registered as an

 “Associated Person” of HRBFA. Form U-4 is the standard form that is required for all securities

 broker-dealers to register their representatives or “associated persons” with the securities’

 industry’s self-regulatory organizations (“SROs”), the NASD (now the FINRA) and the NYSE.

 Form U-4 contains a pre-dispute arbitration clause which requires that disputes between an

 employee and a member organization be arbitrated.

        On May 2, 2005, Plaintiff initiated arbitration against HRBFA and H&R Block before the

 dispute resolution division of the FINRA. In his Statement of Claim in the arbitration, Plaintiff


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 asserted claims of breach of contract , fraud, illegal retaliation, civil extortion and a number of

 ERISA violations, all arising out of his employment and termination of his employment, and

 seeking damages in excess of $3 million. Pursuant to the arbitration provision in Plaintiff’s

 Form U-4 and the NASD rules, Plaintiff and HRBFA were required to arbitrate these claims.

 Although H&R Block was not a member of the NASD and not a party to any arbitration

 agreement with Plaintiff, it voluntarily agreed to arbitrate Plaintiff’s claims and submitted a

 Uniform Submission Agreement to the NASD Dispute Resolution division to that effect.

        In their response to Plaintiff’s Statement of Claim, HRBFA and H&R Block stated that

 some of the compensation and benefits Plaintiff was seeking were only obtainable from the H&R

 Block Severance Plan which is administered by HRB Management. Respondents further stated

 that the Plan and HRB Management are not FINRA members and are not parties to any

 agreement to arbitrate with Plaintiff. Plaintiff thereafter filed an Amended and Restated

 Statement of Claim seeking to add the Plan and Plan Administrator HRB Management as parties

 to the arbitration. By a letter dated October 10, 2005, HRB Management and the Plan, acting

 through the same counsel that represents H&R Block and HRBFA, advised FINRA Dispute

 Resolution that they declined to voluntarily submit to the arbitration of Plaintiff’s claims.

        Upon receipt of this declaration, on October 11, 2005, the FINRA sent Plaintiff’s

 attorney a letter stating that the FINRA did not have jurisdiction over HRB Management or the

 Plan. Thereafter, on December 15, 2005, Plaintiff filed a Petition in this Court requesting that

 the Court enter an order and judgment compelling HRB Management and the Plan to arbitrate

 Plaintiff’s ERISA claims in the same arbitration forum with its affiliates, HRBFA and H&R

 Block. In an opinion dated July 13, 2006 this Court denied Plaintiff’s motion.


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        Plaintiff went ahead with arbitration against the original two defendants, HRBFA and

 H&R Block, but before arbitration began, HRBFA and H&R Block argued that, since this Court

 had held that the Plan and HRB Management could not be compelled to arbitrate, the Plaintiff’s

 ERISA claims could not be heard by the Panel. Plaintiff filed a motion with this Court to clarify

 this Court’s earlier decision. On February 26, 2007 this Court ruled that its July 13, 2006

 decision did not preclude the Panel from hearing the ERISA claims.

        Thereafter the parties underwent arbitration. At the hearing, five witnesses testified.

 Plaintiff also introduced approximately 55 exhibits and Defendants introduced approximately 74

 exhibits. Plaintiff presented one expert witness, Professor Maria O’Brien Hylton of Boston

 University School of Law, an expert in the field of ERISA law. She testified in support of

 Plaintiff’s ERISA claims against Defendants. Defendants offered no expert witnesses. The

 parties completed arbitration and the Panel awarded Plaintiff $3,962,846.91 in compensatory

 damages, interest, and attorney fees. On February 25, 2008 Plaintiff filed the present

 Application with this court seeking to confirm the Award. HRBFA and H&R Block responded

 with a motion to vacate the Award.

                                         III. DISCUSSION

 A. Standards Governing Plaintiff’s Application and Defendants’ Motion

        Plaintiff’s Application to confirm the Award is statutorily authorized by the Federal

 Arbitration Act (“FAA”), 9 U.S.C. § 9, and, as provided in 9 U.S.C. § 6, is heard by this Court in

 the same manner as a motion. “The FAA expresses a presumption that arbitration awards will be

 confirmed.” Nationwide Mutual Insurance Company v. Home Insurance Company, 429 F.3d

 640, 643 (6th Cir. 2005). Only if arbitration awards are strictly enforced will the public policy


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 favoring dispute resolution be upheld. “When courts are called on to review an arbitrator’s

 decision, the review is very narrow; [it is] one of the narrowest standards of judicial review in all

 of American jurisprudence.” Ulh v. Komatsu Forklift Co., 512 F.3d 294, 305 (6th Cir. 2008)

 (quoting Lattimer-Stevens Co. v. United Steelworkers, 913 F.2d 1166, 1169 (6th Cir.1990)).

 Recently, in Hall Street Associates, L.L.C. v. Mattel, Inc., __ U.S. __, 128 S. Ct. 1396 (2008),

 the Supreme Court stated that,

        [o]n application for an order confirming the arbitration award, the court ‘must grant’ the
        order ‘unless the award is vacated, modified, or corrected as prescribed in sections 10 and
        11 of this title.’ There is nothing malleable about ‘must grant,’ which unequivocally tells
        courts to grant confirmation in all cases, except when one of the ‘prescribed’ exceptions
        applies.

 Id. at 1405 (quoting 9 U.S.C. § 9).

        9 U.S.C. § 10 lists four grounds for vacating an arbitration award:

        (1) Where the award was procured by corruption, fraud, or undue means.
        (2) Where there was evident partiality or corruption in the arbitrators, or either of them.
        (3) Where the arbitrators were guilty of misconduct in refusing to postpone the hearing,
            upon sufficient cause shown, or in refusing to hear evidence pertinent and material to
            the controversy; or of any other misbehavior by which the rights of any party have
            been prejudiced.
        (4) Where the arbitrators exceeded their powers, or so imperfectly executed them that a
            mutual, final, and definite award upon the subject matter submitted was not made.

        9 U.S.C. § 11 also lists three grounds for modifying an arbitration award:

        (a) Where there was an evident material miscalculation of figures or an evident material
            mistake in the description of any person, thing, or property referred to in the award.
        (b) Where the arbitrators have awarded upon a matter not submitted to them, unless it is a
            matter not affecting the merits of the decision upon the matter submitted.
        (c) Where the award is imperfect in matter of form not affecting the merits of the
            controversy.

        In addition to these statutory grounds, a court may vacate an award if the arbitrators have

 “manifestly disregarded the law.” Dawahare v. Spencer, 210 F.3d 666, 669 (6th Cir.), cert.


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 denied 531 U.S. 878 (2000). A court may find that the law has been manifestly disregarded if:

 “(1) the applicable legal principle is clearly defined and not subject to reasonable debate; and (2)

 the arbitrators refused to heed the legal principle.” Dawahare, 210 F.3d at 669 (quoting Merrill

 Lynch, Pierce, Fenner & Smith, Inc. v. Jaros, 70 F.3d 418, 421 (6th Cir.1995)). As the Supreme

 Court concluded in Mattel, supra,

        [I]t makes more sense to see the three provisions, §§ 9-11 [of 9 U.S.C.], as substantiating
        a national policy favoring arbitration with just the limited review needed to maintain
        arbitration's essential virtue of resolving disputes straightaway. Any other reading opens
        the door to the full-bore legal and evidentiary appeals that can ‘rende[r] informal
        arbitration merely a prelude to a more cumbersome and time-consuming judicial review
        process . . . and bring arbitration theory to grief in the post-arbitration process.

 128 S. Ct. at 1405 (quoting Kyocera Corp. v. Prudential-Bache Trade Services, 341 F.3d 987,

 998 (9th Cir. 2003)).

        Defendants make no claim that the Panel violated any of the statutory provisions; rather

 they base their motion to vacate entirely on the premise that the Panel manifestly disregarded the

 law.

 B. The FINRA Arbitration Panel Did not Manifestly Disregard The Law

        As Plaintiff points out in his Response, the Panel provided no “discussion, explanation,

 reason, or any indication whatsoever of what evidence the arbitrators relied upon, how they

 arrived at their decision, or what claims the Award is based on.” (See Plaintiff’s Response, at 2).

 Since “the party moving to vacate the award bears a ‘high’ burden of proof to avoid ‘summary

 confirmation’ of the award,” Terk Technologies Corp. v. Dockery, 86 F.Supp.2d 706, 709 (E.D.

 Mich. 2000), Defendants’ contention is, ab initio, confronted by an all but insurmountable

 obstacle: the Panel did not provide any reasoned analysis for their decision from which

 Defendants could offer evidence that the Panel disregarded the law. As the court in Dawahare

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 noted, “[if] the [arbitration panel] chooses not to [explain their decision ], it is all but impossible

 to determine whether they acted with manifest disregard of the law.” Dawahare, 210 F.3d at

 669. The absence of any evidence of the Panel’s decision-making process leaves nothing for this

 Court to do but speculate as to what the Panel may have been thinking when they made their

 decision, a policy clearly contrary to the interests of justice. See e.g., Electronic Data Systems

 Corp. V. Donelson, 473 F.3d 684 (6th Cir. 2007).

         The only manner in which this Court could possibly determine that the Panel manifestly

 disregarded the law is if, from an analysis of the transcript of the arbitration proceeding and the

 evidence provided to the Panel, absolutely no rational means could be determined by which the

 Panel may have come to its decision. If any such a path to the Award may be forged, this Court

 must affirm the Panel’s decision. Merrill Lynch, Pierce, Fenner & Smith, Inc. V. Jaros, 70 F.3d

 418, 421 (6th Cir. 1995). As the Supreme Court explained in Major League Baseball Players

 Ass'n v. Garvey, 532 U.S. 504 (2001), so long as “an arbitrator is even arguably construing or

 applying the contract and acting within the scope of his authority, the fact that a court is

 convinced he committed serious error does not suffice to overturn his decision.” Id. at 509.

 Thus, even errors in the interpretation and application of the law will not be enough to overturn

 an arbitration panel’s decision. The Court will now address the claims that Plaintiff and

 Defendants presented to the Panel.

 1. The Arbitration Panel May Have Awarded Damages to Plaintiff Against HRBFA and H&R

 Block on the ERISA Claims.

         The question before the court is whether the arbitration panel manifestly disregarded the

 law when it awarded Plaintiff almost $4 million in damages. Since the Panel provided no written


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 findings on which it based its claims, the Court will determine if a rational means exists by

 which the Panel may have come to its decision. The Panel may have based its decision on one or

 all of the claims. Therefore, this Court will look at each claim seriatim.

        The Court finds that the Panel may have properly based its decision in whole or in part or

 on Plaintiff’s ERISA claims against HRBFA and H&R Block. Precedent exists in a number of

 the federal circuits -- including the Sixth Circuit -- for holding an employer to be the proper

 party to an ERISA benefits claim. See Sweet v. Consolidated Aluminum Corp., 913 F.2d 268,

 272 (6th Cir. 1990); Muscemi v. Schwegmann Giant Super Markets, Inc., et al, 332 F.3d 339 (5th

 Cir. 2003); Mein v. Carus Corp., 241 F.3d 581 (7th Cir. 2001). In all of these cases, in order to

 determine if the employer was a proper defendant, courts have looked to the level of control the

 employer had over the retirement plan. Their analyses include factors such as the employer’s

 authority to decide the specific terms of the plan and its ability to determine requirements of

 membership to the plan (See Rosen v. TR, Inc., 979 F.2d 191, 192 (11th Cir. 1992); Adamo v.

 Anchor Hocking Corp., 720 F. Supp. 491, 498 (W.D. Pa. 1989)(employer controls and

 influences plan decisions); DuBois v. Wal-Mart Stores, Inc., 2005 WL 1801977 at *2 (W.D. La.

 July 28, 2005) (employer made decision to deny benefits); Liston v. Unum Corp Officer

 Severance Plan, 2001 WL 761228 at *5 (D. Me. July 6, 2001) (benefits are paid out of

 employer’s general assets); Hogan v. Metromail, 107 F. Supp. 2d 459, 475 (S.D.N.Y. 2000)

 (employer made final benefits decision)) and whether or not the employer funds the plan (See

 Harrison v. Digital Health Plan, 183 F.3d 1235, 1241 (11th Cir. 1999)(self-funded plan); Mein,

 241 F.3d at 585 and Neuma, Inc. V. AMP, Inc., 259 F.3d 864, 872 n.4 (7th Cir. 2001)(plan was

 unfunded); Osbun v. Auburn Foundry, Inc., 2004 WL 2402836, at n.5 (N.D. Ind. 2004) (plan


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 funded by employer); Muscemi, 332 F.3d 339 (unfunded plan); Slaughter v. AT&T Information

 Systems, Inc., 905 F.2d 92 (5th Cir. 1990)(plan unfunded; benefits paid by employer). In cases in

 which a high level of control is found, courts have gone so far as to hold that it is unnecessary

 for Plaintiff to name the plan or plan administrator as a defendant; rather, the Plaintiff may treat

 the employer as the de facto plan administrator. Law v. Ernst & Young, 956 F.2d 364 (1st Cir.

 1992) (employer is proper party to benefits claim regardless of who is named as plan

 administrator in the plan document).

        In the present case, H&R Block both controls the plan administrator, HRB Management,

 and provides the funding for the Plan. Furthermore, Mark Ernst, the President, CEO, and

 Chairman of H&R Block, is also the President of HRB Management which is the administrator

 of the Plan. When an employer exercises a degree of authority over a benefits plan equivalent to

 HRBFA and H&R Block’s, there is ample authority that the employer may be held as a proper

 party to the ERISA claims. Here, there is no evidence that the arbitrators refused to heed this

 legal principle.

        Evidence was presented at the arbitration hearing which established that HRBFA and

 H&R Block exercised substantial control over the Plan. At the arbitration hearing, Professor

 Hylton testified that HRB Management was a “do nothing administrator.” (See Plaintiff’s

 Response, Tx. Nov. 6, p. 319, ll. 19-25). Her conclusion was based in part on the fact that Mark

 Ernst, the President, CEO and Chairman of H&R Block as well as the President of HRB

 Management, was unaware that HRB Management was named as the Plan’s administrator under

 the Plan (See Plaintiff’s Response, Tx., Nov. 7, p. 469, l. 19) and that Tammy Seratti, H&R

 Block’s Senior Vice President of Human Resources, managed severance benefits claims through


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 the H&R Block Human Resource Department. (See Plaintiff’s Response, Tx. Nov. 7, p. 512, ll.

 11-19). Dave Andrew, General Counsel of HRBFA, testified that the Board of Directors of

 H&R Block, HRB Management, had ultimate responsibility for determining Plan benefits. (See

 Plaintiff’s Response, Tx., Nov. 9, p. 887, ll. 14-16). Brian Nygaard, former Chief Executive

 Officer of HRBFA, testified that whenever HRBFA had severance plan issues, its Director of

 Human Resources “would then go to [H&R Block] and engage in dialogue with those people in

 [H&R Block] who would be most engaged in a severance process.” (See Plaintiff’s Response,

 Tx. Nov. 6, pp. 194, l. 24-195, l. 2). Nygaard also testified that he developed a severance

 package for Plaintiff after a February 2004 meeting with Plaintiff and that the only person he

 conferred with about Plaintiff’s severance plan was Seratti, Senior Vice President of H&R

 Block, who approved the plan. (See Plaintiff’s Response, Tx. Nov. 6, pp.180 l. 22-183, l. 23).

 Lastly, evidence was presented at the hearing which showed that the Plan was unfunded and that

 HRBFA pays the severance benefits. (See Plaintiff’s Response, Claimant’s Ex. 29, p. HR 450 ¶

 12.

        Defendants argue that the court in May v. Roadway Express, 813 F. Supp. 1280 (E.D.

 Mich. 1993), ruled that an employer is not a proper party to an employee’s ERISA claim.

 However, May only ruled that the employer was not a proper party when its parent company is

 the administrator of the plan, which is not the case here. Also, the employer in May did not have

 any significant control of the administration of the plan. Moreover, even if the court in May

 would have ruled in direct contradiction to the cases cited above, this would serve only to defeat

 the first element of manifest disregard of the law: there would be no clearly established legal

 principle. Therefore, the Court finds that the Panel did not manifestly disregard the law in


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 deeming H&R Block and HRBFA to be proper parties to Plaintiff’s ERISA claims.

        The next issue is whether Plaintiff exhausted his administrative remedies before he filed

 his claim in arbitration. Burds v. Union Pacific Corp., 223 F.3d 814, 817 (6th Cir. 2000)

 (requiring exhaustion of administrative remedies for claims under ERISA § 510); Miller v.

 Metro Life, 925 F.2d 979, 986 (6th Cir. 1991) (ERISA requires plaintiff to exhaust his

 administrative remedies before filing suit); Baxter v. C.A. Muer, 941 F.2d 451, 454 (6th Cir.

 1991) (benefits claim dismissed because plaintiff did not exhaust his administrative remedies

 before filing suit). However, as Plaintiff correctly argues, the Sixth Circuit has held that, under

 ERISA, a Plaintiff need not exhaust his administrative remedies when to do so would prove

 futile. Fallick v. Nationwide Mut. Ins. Co., 162 F.3d 410, 419 (6th Cir. 1998). Evidence was

 presented at the hearing that Plaintiff had contacted Mark Ernst concerning his complaints about

 the severance plan. Plaintiff contends that at the time of his termination, he repeatedly tried to

 obtain desired severance terms and that Defendants refused to grant them. Block’s own

 attorneys informed Plaintiff’s counsel that if the two parties could not come to an agreement,

 H&R Block would take the position that Plaintiff was not entitled to any benefits. The Court,

 therefore, finds that the Panel, presented with these facts, properly determined that, under Sixth

 Circuit law, Plaintiff was not required to exhaust his administrative remedies.

        Next, the Court finds that sufficient evidence was presented at the arbitration hearing for

 the Panel to determine that Defendants had violated ERISA § 510. Section 510 prohibits

 discrimination against an ERISA plan participant and interference with protected rights under an

 ERISA plan. 29 U.S.C. § 1140. Two types of conduct are prohibited: (1) adverse actions in

 retaliation against a participant because of assertion of ERISA rights, and (2) interference with


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 the attainment of ERISA rights. Mattei v. Mattei, 126 F.3d 794, 797 (6th Cir.), cert. denied 523

 U.S. 1120 (1997). Even if the court finds that the conduct was in part motivated by business

 reasons, this does not preclude a separate finding that the conduct was also motivated by

 improper reasons and thus in violation of ERISA. Shahid v. Ford Motor Co., 76 F.3d 1404, 1411

 (6th Cir. 1996).

         At the arbitration hearing, Plaintiff presented evidence that his refusal to sign a two-year

 non-compete clause was based in part on his objection to a non-compete clause which was more

 onerous than other non-compete clauses Defendants had included in other severance plans with

 other employees. In Cirulus v. UNUM Corp., 321 F.3d 1010 (10th Cir. 2003), the court

 determined that the defendant had violated § 510 of ERISA when it refused severance benefits to

 an employee who refused to sign a non-solicitation provision. Professor Hylton testified that the

 selective amending of Plaintiff’s severance package to include a non-compete clause that was

 substantially more oppressive than those contained in other similar severance agreements which

 Defendants had offered to other employees was an “illegal plan amendment.” (See Plaintiff’s

 Response, Tx., Nov. 6, pp. 335, l. 22-336, l. 3). Based on the above evidence and testimony, the

 Court finds that the Panel could have determined that Defendants’ actions were a violation of §

 510 of ERISA.

         Similarly, this Court finds that the Panel could have determined that Defendants’ actions

 amounted to breach of fiduciary duty in violation of § 409 of ERISA. ERISA authorizes civil

 actions for breach of fiduciary duty by individual plan participants directly against any plan

 fiduciary. Varity Corp. V. Howe, 516 U.S. 489, 512 (1996). ERISA defines a fiduciary as a

 person or entity which


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        (i) . . . exercises any discretionary authority or discretionary control respecting
        management of such plan or exercises any authority or control respecting management or
        disposition of its assets, (ii) . . . renders investment advice for a fee or other
        compensation, direct or indirect, with respect to any moneys or other property of such
        plan, or has any authority or responsibility to do so, or (iii) . . . has any discretionary
        authority or discretionary responsibility in the administration of such plan.

 29 U.S.C. § 1002(21)(A).

        Based on the fact that HRBFA and H&R Block exercised such great authority over the

 administration of the Plan, the Court finds that the Panel may well have determined that

 Defendants were in a fiduciary position with regard to Plaintiff. The same evidence that was

 used to prove the violation of § 510 would also prove a violation of § 409 since, if HRBFA and

 H&R interfered with Plaintiff’s ERISA rights it would necessarily constitute a breach of their

 fiduciary duty once the Panel had determined that Defendants were fiduciaries according to

 ERISA. These violations of fiduciary duty include (1) discriminating against Plaintiff by

 imposing a more onerous non-compete clause which was not “in accordance with the documents

 and instruments governing the plan,” ERISA § 1104(a)(1)(D); (2) falsely interpreting the Plan,

 by telling Plaintiff that the non-compete provisions did not apply to him when in fact they did;

 (3) falsely representing that the provisions of the Employment Agreement were “applied

 uniformly” in order to induce Plaintiff to waive his rights under the Plan (as Plaintiff argues, “[i]t

 is a breach of fiduciary duty to lie to employees ‘in order to induce them to surrender their

 benefits,’” see Plaintiff’s Response, at 20 (quoting Baker v. Kingsly, 387 F.3d 649, 661 (7th Cir.

 2005) )); (4) withholding stock options that were previously “guaranteed” in retaliation for

 Plaintiff’s refusal to waive his rights under the Plan; and (5) terminating Plaintiff’s employment

 for his insistence on his ERISA rights by his refusal to sign the Employment Agreement which

 would have waived his rights under the Severance Plan. Any one of these allegations, if true,

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 would establish that Defendants were acting in favor of their own self-interest and against the

 interests of someone with whom they had a fiduciary relationship. Thus, the Court finds that the

 Panel could have found that Defendants breached § 409 of ERISA.

         The Court next finds that the Panel could have granted Plaintiff a monetary award on his

 ERISA claims. First, under a direct benefits claim, 29 U.S.C. § 1132(a)(1)(B), or a claim under

 § 510 of ERISA, Plaintiff could recover monetary damages if the Panel determined that Plaintiff

 had been denied benefits that were rightfully his. Admittedly, the law in this area is not well-

 settled. For example, in Eichorn v. AT&T Corp., 484 F.3d 644, 655 (3d Cir. 2007), the court

 determined that the “equitable” relief the plaintiff was seeking was in fact not equitable but in

 fact a disguised claim for compensatory damages and therefore not allowed. The subject of the

 controversy was pension benefits which the plaintiffs supposedly would have earned if they had

 remained employed. Id. at 648. However, the court went on to note that,

         [t]his is not to say that an ERISA plaintiff's demand for money necessarily requires the
         conclusion that the relief sought is not “equitable” within the meaning of the statute. The
         Supreme Court has explained that some forms of equitable relief -- such as constructive
         trusts, equitable liens, or accounting for the profits derived from wrongly held
         property-include the payment of money.

 Id., at 655, n. 6.

         From the Eichorn analysis, the Panel could have concluded that a monetary equivalent

 for specific shares of stock was restitution, or equitable relief, and thus was a permissible remedy

 under ERISA. The Panel could also have distinguished Plaintiff’s claim from the claim in

 Alexander v. Bosch Automotive, 232 Fed. Appx. 491 (6th Cir. 2007). The court in Alexander

 held that restitution of a monetary amount was unavailable because the plaintiffs could not

 “identify particular traceable funds.” Id. at 501. In the present case, however, Plaintiff identified


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 definite shares of stock which, under Plaintiff’s theory, were wrongfully withheld by Defendants.

 Thus, the Panel’s Award falls outside the impermissible remedies as defined in Alexander. A

 monetary award is also available under § 409 of ERISA. As with § 510, ERISA allows only

 equitable remedies for violations of § 409. Great-West Life & Annuity Ins. Co. v. Knudson, 534

 U.S. 204, 210-11 (2002). However, in Great West, the Court held that equitable relief under

 ERISA includes equitable relief in the form of a constructive trust, i.e. the employer is holding

 property which rightfully belongs to the Plaintiff and he should be made to give up this property

 to the plaintiff. Id. at 213. If the Panel determined that the stock Defendants had withheld from

 Plaintiff was rightfully Plaintiff’s property, it could have decided that the stock should be

 returned to Plaintiff, and, since Plaintiff was no longer employed by the Defendants, awarded

 him the monetary value of the stock. In any case, Defendants fail to prove that the Panel

 manifestly disregarded a clearly established legal principle; since the law in this area is open to

 reasonable debate, there was no clearly established legal principle for the Panel to disregard.

 However, it appears from the evidence and transcript that the Panel at least tried to act in

 conformance with the law as it now exists.

        Based on the foregoing analysis, the Court concludes that a monetary award under

 ERISA would not be a manifest disregard of the law. Further, as the Court will next consider, it

 is not inconceivable that the Panel could have based the Award on any of Plaintiff’s other claims

 against the Defendants.




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 2. The Arbitration Panel May Have Awarded Damages to Plaintiff Against HRBFA and H&R

 Block Based on His Claims of Breach of Contract , Fraud, Illegal Retaliation, or Civil Extortion.

        Defendants’ arguments in support of their motion to vacate based on manifest disregard

 of the law with regard to Plaintiff’s claims of breach of contract, fraud, illegal retaliation, and

 civil extortion do not meet the high burden of proof which must be met to vacate an arbitration

 award. In essence, Defendants are using this Court as a sort of “court of appeals” to review the

 Panel’s decision. In their motion, Defendants reargue the facts and legal issues of the case in an

 attempt to show how the Panel incorrectly applied the law. However, even if this were the case,

 it is not enough to vacate an arbitration award. In Dawahare, 210 F.3d at 669 (citing M & C

 Corp., v. Erwin Behr GmbH & Co., 87 F.3d 844, 851 n. 3 (6th Cir. 1996)), the court noted that a

 mistake by an arbitration panel in the interpretation or application of the law is not a proper basis

 for vacating an arbitration award. Nowhere do Defendants present evidence which would

 support a finding that the applicable legal principle of any of the causes of action is a clearly

 defined and not subject to reasonable debate, or that the arbitrators refused to heed that legal

 principle. A mere misapplication of law is not enough to vacate an arbitration award. Id. at 851.

 Defendants repeatedly claim that each of Plaintiff’s claims fail under Michigan law. Yet,

 nowhere in their motion or brief do Defendants point to a specific instance where the Panel

 manifestly disregarded the law as interpreted by the Michigan courts or the Sixth Circuit.

 3. The Arbitration Panel May Have Awarded Plaintiff His Attorney’s Fees

        The Panel included attorney fees in its $3.962 million award and, as Plaintiff correctly

 asserts, Michigan law allows for recovery of attorney fees if authorized by a statute. MCL

 600.2405(6). Attorney fees may also be awarded under ERISA, 29 U.S.C. § 1132(g)(1) in some


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 cases. In Sec’y of Dep’t of Labor v. King, 775 F.2d 666, 669 (6th Cir. 1985), the court listed five

 factors which should be considered in deciding whether to award attorney fees in ERISA cases.

 They are:

         (1) the degree of the opposing party's culpability or bad faith; (2) the opposing party's
         ability to satisfy an award of attorney's fees; (3) the deterrent effect of an award on other
         persons under similar circumstances; (4) whether the party requesting fees sought to
         confer a common benefit on all participants and beneficiaries of an ERISA plan or
         resolve significant legal questions regarding ERISA; and (5) the relative merits of the
         parties' positions.

 Id. at 669.

         Plaintiff argues that Defendants acted in bad faith in delaying arbitration in order to drive

 up Plaintiff’s fees. Plaintiff also argues that Defendants acted in bad faith in their interpretation

 of this Court’s decision denying Plaintiff’s motion to compel HRB Management and the Plan to

 arbitrate. If the Panel found these assertions valid, an award of attorney fees would not be a

 manifest disregard of the law. Since the Court can do nothing but speculate as to how the Panel

 determined the amount and availability of attorney fees, and since Plaintiff did provide evidence

 which could have given the Panel a basis upon which to award attorney fees, this Court affirms

 the Panel’s award of attorney fees.

         In sum, nowhere does the Court find “[p]roof that the panel ‘consciously chose not to

 apply,’” the relevant law with respect to any of Plaintiff’s claims heard by the Panel. Mitchell v.

 Ainbinder, 214 Fed. Appx. 565, 567 (6th Cir. 2007).




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                                       IV. CONCLUSION

        For the reasons set forth above,

        IT IS HEREBY ORDERED that Fitzgerald’s application for confirmation of the FINRA

 arbitration Award (Dkt. #1) is GRANTED and HRBFA and H&R Block’s motion to stay and to

 vacate the Award (Dkt. #5) is DENIED.


                              s/Gerald E. Rosen
                              Gerald E. Rosen
                              United States District Judge

 Dated: June 11, 2008

 I hereby certify that a copy of the foregoing document was served upon counsel of record on
 June 11, 2008, by electronic and/or ordinary mail.

                              s/LaShawn R. Saulsberry
                              Case Manager




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